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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     (Admitted pro hac vice)
     ATTORNEYS FOR DEBTOR
     In re:                                                      Chapter 11
     LTL MANAGEMENT LLC, 1                                       Case No.: 23-12825 (MBK)
                                Debtor.                          Judge: Michael B. Kaplan

                     NOTICE OF AMENDED 2 AGENDA OF MATTERS
              SCHEDULED FOR HEARING ON JUNE 27 – JUNE 30, 2023 AT 9:00 A.M.



                            Parties are directed to https://www.njb.uscourts.gov/LTL
                          for appearing via Zoom or in-person, or observing via Zoom.




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
 2
              Amended agenda items appear in bold.




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 UNCONTESTED MATTERS GOING FORWARD:

 1.      The Official Committee of Talc Claimants’ Motion to Seal the Redacted Portions and
         Exhibits of the Reply in Support of the Motion of the Official Committee of Talc
         Claimants to Dismiss Second Bankruptcy Petition of LTL Management LLC [Dkt. 858]
         (the “TCC Motion to Seal Reply”).

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time [Dkt. 864].

         Related Documents:

         A.       Reply in Support of Motion of the Official Committee of Talc Claimants to
                  Dismiss Second Bankruptcy Petition of LTL Management LLC [Dkt. 857]
                  (the “TCC Reply”).

         B.       Application for Order Shortening Time and Certain Other Relief [Dkt. 860].

         C.       Order Shortening Time Period for Notice, Setting Hearing and Limited Notice
                  [Dkt. 864].

 2.      Motion to Seal the Redacted Portions of Reply in Support of Motion of Arnold & Itkin,
         on Behalf of Certain Talc Claimants, to Dismiss Chapter 11 Case [Dkt. 859] (the “A&I
         Motion to Seal Reply”).

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time [Dkt. 865].

         Related Documents:

         A.       Reply in Support of Motion of Arnold & Itkin, on Behalf of Certain Talc
                  Claimants, to Dismiss Chapter 11 Case [Dkt. 854] (the “A&I Reply”).

         B.       Application for Order Shortening Time and Certain Related Relief [Dkt. 861].

         C.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Dkt. 865].

 3.      Motion of the Ad Hoc Committee of Supporting Counsel to File Under Seal and
         Redact Certain Information in Response of Ad Hoc Committee of Supporting
         Counsel to Replies in Support of Motions to Dismiss [Dkt. 902].

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time [Dkt. 905].



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         Related Documents:

         A.       Omnibus Response of Ad Hoc Committee of Supporting Counsel to Replies
                  in Support of Motions to Dismiss [Dkt. 900] (the “AHC Omnibus Response”).

         B.       Application for Order Shortening Time and Certain Related Relief
                  [Dkt. 904].

         C.       Order Shortening Time Period for Notice, Setting Hearing and Limiting
                  Notice [Dkt. 905].

 4.      Debtor’s Motion for Entry of an Order Authorizing the Debtor to (I) File an
         Unredacted Version of Its Sur-Reply Under Seal and (II) Submit Certain
         Confidential Exhibits to the Same Under Seal and Granting Related Relief
         [Dkt. 909].

         Status: Debtor’s Application for Order Shortening Time and Certain Related
         Relief [Dkt. 910] is currently pending. The Debtor has requested that this matter be
         heard on June 27, 2023.

         Objection Deadline: At hearing, provided the Court grants the Application for
         Order Shortening Time and Certain Related Relief [Dkt. 910].

         Related Documents:

         A.       Debtor’s Sur-Reply in Further Support of Omnibus Objection to Motions to
                  Dismiss Chapter 11 Case [Dkt. 906] (the “Sur-Reply”).

         B.       Application for Order Shortening Time and Certain Related Relief
                  [Dkt. 910].

 CONTESTED MATTERS GOING FORWARD:

 5.      Motion of the Official Committee of Talc Claimants to Dismiss the Second Bankruptcy
         Petition of LTL Management LLC [Dkt. 286] (the “TCC Motion to Dismiss”).

         Status: This matter is going forward.

         Objection Deadline: May 26, 2023.

         Related Documents:

         A.       Motion to Seal the Redacted Portions and Exhibits of the TCC Motion to Dismiss
                  [Dkt. 287].

         B.       The Official Committee of Talc Claimants’ April 28, 2023 Letter to the Court
                  [Dkt. 345] (the “TCC April Letter”).

         C.       Mesothelioma Claimants’ Joinder to the TCC Motion to Dismiss [Dkt. 352].

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         D.       The Debtor’s May 1, 2023 Letter to the Court in Response to the TCC April
                  Letter [Dkt. 376].

         E.       The Official Committee of Talc Claimants’ May 2, 2023 Letter to the Court
                  [Dkt. 388].

         F.       Joinder of the Estate of Melissa Fleming to the TCC Motion to Dismiss
                  (the “Fleming Joinder”).

         G.       Joinder of the Estate of Robert Gendelman to the TCC Motion to Dismiss
                  (the “Gendelman Joinder”). 3

         H.       Joinder of Motions to Dismiss by Georgia State Court Claimants Represented by
                  the Barnes Law Group [Dkt. 473] (the “Barnes Joinder”).

         I.       The Official Committee of Talc Claimants’ May 12, 2023 Letter to the Court
                  [Dkt. 494] (the “TCC May Letter”).

         J.       The Debtor’s May 12, 2023 Letter to the Court in Response to the TCC May
                  Letter [Dkt. 496].

         K.       The Official Committee of Talc Claimants’ May 12, 2023 Letter to the Court in
                  Support of the TCC May Letter [Dkt. 499].

         L.       Order Concerning Request to Seal Documents [Dkt. 564].

         M.       Evidentiary Stipulation for Hearing on the Motions to Dismiss Debtor’s
                  Bankruptcy Case [Dkt. 852] (the “Evidentiary Stipulation”).

         N.       The TCC Reply.

         O.       The TCC Motion to Seal Reply.

         P.       The Ad Hoc Group of Mesothelioma Claimants’ Joinder to the TCC Motion to
                  Dismiss and the TCC Reply [Dkt. 866] (the “Ad Hoc Group Joinder”).

         Q.       The AHC Omnibus Response.

         R.       The Sur-Reply.

         Objections:

         S.       Omnibus Objection of the Ad Hoc Committee of Supporting Counsel to the
                  Motions to Dismiss [Dkt. 613] (the “AHC Omnibus Objection”).


 3
         The Fleming Joinder and the Gendelman Joinder were incorrectly filed in an adversary proceeding related to
         this Chapter 11 Case. See Adv. Pro. No. 23-01092; Dkts. 117, 118, respectively.

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         T.       Debtor’s Omnibus Objection to Motions to Dismiss Chapter 11 Case [Dkt. 614]
                  (the “Debtor’s Omnibus Objection”).

 6.      The Ad Hoc Group of Mesothelioma Claimants’ Motion to Dismiss the Second
         Bankruptcy Petition of LTL Management [Dkt. 335].

         Status: This matter is going forward.

         Objection Deadline: May 26, 2023.

         Related Documents:

         A.       The Evidentiary Stipulation.

         B.       The Ad Hoc Group Joinder.

         C.       The AHC Omnibus Response.

         D.       The Sur-Reply.

         Objections:

         E.       The AHC Omnibus Objection.

         F.       The Debtor’s Omnibus Objection

 7.      Motion to Dismiss of Paul Crouch, Individually and as Executor Ad Prosequendum of the
         Estate of Cynthia Crouch [Dkt. 346].

         Status: This matter is going forward.

         Objection Deadline: May 26, 2023.

         Related Documents:

         A.       The Barnes Joinder.

         B.       The Evidentiary Stipulation.

         C.       The AHC Omnibus Response.

         D.       The Sur-Reply.

         Objections:

         E.       The AHC Omnibus Objection.

         F.       The Debtor’s Omnibus Objection.



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 8.      Motion of the Ad Hoc Committee of States Holding Consumer Protection Claims to
         Dismiss Chapter 11 Case [Dkt. 350] (the “States Motion to Dismiss”).

         Status: This matter is going forward.

         Objection Deadline: May 26, 2023.

         Related Documents:

         A.       The Barnes Joinder.

         B.       The Evidentiary Stipulation.

         C.       Reply in Support of the States Motion to Dismiss [Dkt. 863].

         D.       The AHC Omnibus Response.

         E.       The Sur-Reply.

         Objections:

         F.       The AHC Omnibus Objection.

         G.       The Debtor’s Omnibus Objection.

 9.      MRHFM’s Plaintiffs’ Motion to Dismiss the Second Bankruptcy Petition of LTL
         Management LLC [Dkt. 358] (the “MRHFM Motion to Dismiss”).

         Status: This matter is going forward.

         Objection Deadline: May 26, 2023

         Related Documents:

         A.       The Barnes Joinder.

         B.       The Evidentiary Stipulation.

         C.       Reply in Support of MRHFM Motion to Dismiss [Dkt. 855].

         D.       The AHC Omnibus Response.

         E.       The Sur-Reply.

         Objections:

         F.       The AHC Omnibus Objection.

         G.       The Debtor’s Omnibus Objection.


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 10.     Motion of the United States Trustee to Dismiss Case Pursuant to 11 U.S.C. § 1112(b)
         [Dkt. 379] (the “UST Motion to Dismiss”).

         Status: This matter is going forward.

         Objection Deadline: May 26, 2023.

         Related Documents:

         A.       The Barnes Joinder.

         B.       The Evidentiary Stipulation.

         C.       Reply in Support of the UST Motion to Dismiss [Dkt. 862].

         D.       The AHC Omnibus Response.

         E.       The Sur-Reply.

         Objections:

         F.       The AHC Omnibus Objection.

         G.       The Debtor’s Omnibus Objection.

 11.     Motion of Arnold & Ikin, on Behalf of Certain Talc Claimants, to Dismiss Chapter 11
         Case [Dkt. 384] (the “A&I Motion to Dismiss”).

         Status: This matter is going forward.

         Objection Deadline: May 26, 2023.

         Related Documents:

         A.       Arnold & Itkin’s Motion to Seal the Redacted Portions of the A&I Motion to
                  Dismiss [Dkt. 385].

         B.       The Barnes Joinder.

         C.       Order Concerning Request to Seal Documents [Dkt. 563].

         D.       The Evidentiary Stipulation.

         E.       The A&I Reply.

         F.       Declaration of Laura Davis Jones in Support of the A&I Reply [Dkt. 856].

         G.       The AHC Omnibus Response.



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         H.       The Sur-Reply.

         Objections:

         I.       The AHC Omnibus Objection.

         J.       The Debtor’s Omnibus Objection.

 12.     Motion of the State of New Mexico and the State of Mississippi to Dismiss the Second
         Bankruptcy Petition of LTL Management LLC for Cause, Pursuant to Section 1112(B) of
         the United States Bankruptcy Code (11 U.S.C. §§ 101, et seq.), and Joinder in Motions to
         Dismiss Filed by Certain Other Parties [Dkt. 480] (the “NM/MS Motion to Dismiss”).

         Status: This matter is going forward.

         Objection Deadline: May 26, 2023.

         Related Documents:

         A.       The Evidentiary Stipulation.

         B.       The Reply in Support of the NM/MS Motion to Dismiss [Dkt. 872].

         C.       The AHC Omnibus Response.

         D.       The Sur-Reply.

         Objections:

         E.       The AHC Omnibus Objection.

         F.       The Debtor’s Omnibus Objection.

 EVIDENTIARY MATTERS:

 13.     Paul Crouch’s Motion to Preclude Debtor’s Proffered Expert Testimony of Charles
         H. Mullin and Gregory K. Bell [Adv. Pro. 23-1092, Adv. Dkt. 191, Dkt. 875]
         (the “Crouch Motion to Preclude Testimony”).

         Status: At the direction of the Court, this matter is going forward.

         Related Documents:

         A.       Paul Crouch Objection to Proffered Expert Testimony of Charles H. Mullin,
                  Ph.D. [Dkt. 890] (the “Crouch Objection to Proffered Testimony”).

         B.       MRHFM’s Plaintiffs’ Joinder to Crouch Motion to Preclude Testimony and
                  Crouch Objection to Proffered Testimony [Dkt. 903].


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         Objections:

         C.       Debtor’s Objection to Crouch Motion to Preclude Testimony [Adv. Pro. 23-
                  1092, Adv. Dkt. 195; Dkt. 916]

 14.     Paul Crouch Motion in Limine to Exclude Evidence of Alleged Settlement with
         Third-Party Payors [Dkt. 894].

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time [Dkt. 897].

         Related Documents:

         A.       Application for Order Shortening Time [Dkt. 895].

         B.       Order Shortening Time Period for Notice, Setting Hearing and Limiting
                  Notice [Dkt. 897].

 15.     The Official Committee of Talc Claimants’ June 26, 2023 Letter to the Court
         Regarding the Declaration of James Murdica [Dkt. 901] (“TCC Letter Objection”).

         Related Documents:

         A.       J&J Parties’ Response to the TCC Letter Objection [Dkt. 919].

 16.     The Official Committee of Talc Claimants’ Exhibit List for Hearing on the Motions
         to Dismiss Debtor’s Bankruptcy Case [Dkt. 907] (the “TCC Exhibit List”).

         Related Documents:

         A.       Debtor’s Objection to the TCC Exhibit List [Dkt. 920].

 17.     Debtor’s Exhibit List for Hearing on the Motions to Dismiss Debtor’s Bankruptcy
         Case [Dkt. 914].

 18.     MRHRM’s Evidentiary Objections to Declarations Submitted by Debtor LTL
         Management for Hearing on Motions to Dismiss [Dkt. 915].

 19.     Debtor’s Response to the Official Committee of Talc Claimants’ Objections to
         Debtor’s Deposition Designations for Andrew Birchfield [Dkt. 917].




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  Dated: June 26, 2023                       WOLLMUTH MAHER & DEUTSCH LLP

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